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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION


BRIAN HENRY RITTER,        )
                           )
     Plaintiff,            )
                           )                 CIVIL ACTION NO.
     v.                    )                   3:23cv485-MHT
                           )                        (WO)
STEVEN T. SPEAKMAN, Judge, )
et al.,                    )
                           )
     Defendants.           )

                               OPINION

    Pursuant to 42 U.S.C. § 1983, plaintiff, an inmate

at the Lee County Detention Center, filed this lawsuit

against     the     state-court      judges,          prosecutor,       and

appointed    defense    attorneys      involved        in   his   pending

state    criminal    case,    as   well    as     a    law-enforcement

officer,    contending     that    they    have       violated    or    are

violating his constitutional rights in connection with

his no-bond status and plea agreement.                 Plaintiff seeks

both compensatory damages and immediate release.                       This

lawsuit is now before the court on the recommendation

of the United States Magistrate Judge that plaintiff’s
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case     be    dismissed      with    prejudice.         There    are     no

objections to the recommendation.                After an independent

and de novo review of the record, the court concludes

that the magistrate judge’s recommendation should be

adopted.

       DONE, this the 21st day of September, 2023.

                                        /s/ Myron H. Thompson
                                     UNITED STATES DISTRICT JUDGE




                                      2
